     Case 3:05-cr-00079-WHB-JCS            Document 61        Filed 07/21/06      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION


UNITED STATES OF AMERICA


v.                                                    CRIMINAL NO. 3:05cr79WHB-JCS


MAJD ASSI
HALA KANAA


                                     ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of the Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby dismisses

the Indictment against MAJD ASSI and HALA KANAA, without prejudice.

                                                      DUNN LAMPTON
                                                      United States Attorney


                                              By:      s/ Harold H. Brittain
                                                      HAROLD H. BRITTAIN
                                                      Assistant U.S. Attorney
                                                      MS Bar No. 4556

       Leave of Court is granted for the filing of the foregoing

dismissal without prejudice.

       ORDERED this 20th day of July, 2006.

                                                      s/William H. Barbour, Jr.
                                                      UNITED STATES DISTRICT JUDGE
